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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Laura Annette Zollar
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:24−cv−04114
                                                                     Honorable Sunil R.
                                                                     Harjani
The Partnerships and Unincorporated Associations
Identified on Schedule A
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 23, 2024:


         MINUTE entry before the Honorable Sunil R. Harjani: Plaintiff's motion for leave
to file under seal [11], plaintiff's motion for temporary restraining order [13], and
plaintiff's motion to exceed page limitation [12] are entered and continued. Upon review
of the complaint and the TRO submissions, the Court sua sponte raises the proprietary of
joinder of over 165 defendants in this case. See, e.g. Estee Lauder Cosmetics Ltd. v.
Schedule A, 334 F.R.D. 182 (N.D. Ill. 2020). By 5/30/2024, plaintiff shall file a
supplemental memorandum addressing the propriety of joinder in light of the principles
described in Estee Lauder. In the alternative, plaintiff has leave to file an amended
complaint with a smaller subset of defendants. Estee Lauder, 334 F.R.D. at 189. A
telephone status hearing is set for 6/6/2024 at 9:15 a.m.Members of the public and media
will be able to call in to listen to this hearing but will be placed on mute. The call−in
number is (855) 244−8681 and the access code is 172 628 1276##. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Mailed notice(lxs, )




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